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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

JOHN DOE #1-#14 and JANE DOE
#1-#2,
      Plaintiffs,
v.                                                 Case No. 3:21-cv-1211-AW-HTC
LLOYD AUSTIN, III, in his official
capacity as Secretary of Defense, et al.,
     Defendants.
_______________________________/
                          ORDER SETTING HEARING

      Plaintiffs, active-duty service members, have sued the Secretary of the United

States Department of Defense, the Secretary of the United States Department of

Health and Human Services, and others. ECF No. 1. Plaintiffs challenge the

Department of Defense COVID-19 vaccine mandate, issued August 24, 2021. Id.

      Late yesterday, the case was assigned to me. This morning, Plaintiffs have

filed a motion for a temporary restraining order, a preliminary injunction, and other

relief. ECF No. 11.

      The clerk will set a telephonic hearing for 4:30 p.m. (eastern) today. The

purpose of the hearing is to address scheduling, not to address the merits of

Plaintiffs’ claims. The clerk will distribute call-in information.




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      Plaintiffs must immediately serve a copy of this order on all defendants.

Plaintiffs must also immediately provide all defendants with the call-in information

after the clerk posts it on the docket.

      SO ORDERED on October 8, 2021.

                                          s/ Allen Winsor
                                          United States District Judge




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